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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 9:16-cv-81180-KAM


  UNITEDHEALTHCARE OF FLORIDA, INC.
  and ALL SAVERS INSURANCE COMPANY,

                                Plaintiffs,

         v.                                               JURY TRIAL DEMANDED

  AMERICAN RENAL ASSOCIATES LLC and
  AMERICAN RENAL MANAGEMENT LLC,

                                Defendants.


               JOINT STATUS REPORT AND REQUEST TO EXTEND STAY

         Pursuant to the Court’s Order dated June 4, 2018 (DE 489), the Parties hereby advise the

  Court that they have engaged in settlement discussions up to and including today, and have reached

  an agreement in principle. The settlement includes a contractual business relationship component

  which will necessitate additional time to reduce the final agreement to writing. The Parties expect

  this process to be completed by August 1, 2018. The Parties therefore respectfully request that the

  Court allow the Parties to continue to stay this matter until August 1, 2018, at which point the

  Plaintiffs will either dismiss this case or the Parties will provide the Court with a Joint Status

  Report apprising the Court of the status of negotiations.


  Dated: July 2, 2018                                  Respectfully Submitted,

  /s/ Lawrence A. Farese                               /s/ Matthew Menchel
  Lawrence A. Farese (Florida Bar No. 252808)          Matthew I. Menchel (Florida Bar No. 12043)
  lfarese@robinskaplan.com                             matthew.menchel@kobrekim.com
                                                       Andrew C. Lourie (Florida Bar No. 87772)
  Robins Kaplan LLP                                    andrew.lourie@kobrekim.com
  711 Fifth Avenue South, Suite 201                    Adriana Riviere-Badell (Florida Bar No.
  Naples, Florida 34102                                30572)

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  T: (239) 430-7070                                     adriana.riviere-badell@kobrekim.com
  F: (239) 213-1970                                     Laura M. Gonzalez (Florida Bar No. 74358)
                                                        Laura.Gonzalez@kobrekim.com
  Martin R. Lueck (admitted pro hac vice)               Gabriela M. Ruiz (Florida Bar No. 46844)
  Thomas C. Mahlum (admitted pro hac vice)              Gabriela.Ruiz@kobrekim.com
  Anne M. Lockner (admitted pro hac vice)
  Jeffrey S. Gleason (admitted pro hac vice)            Kobre & Kim LLP
  Jamie R. Kurtz (admitted pro hac vice)                201 South Biscayne Boulevard
  William Bornstein (admitted pro hac vice)             Suite 1900
                                                        Miami, FL 33131
  Robins Kaplan LLP                                     T: (305) 967-6100
  800 LaSalle Avenue, Suite 2800                        F: (305) 967-6120
  Minneapolis, MN 55402
  T: (612) 349-8500                                     Danielle S. Rosborough, admitted pro hac vice
  F: (612) 339-4181                                     danielle.rosborough@kobrekim.com
                                                        Jacob I. Chervinsky, admitted pro hac vice
  mlueck@robinskaplan.com                               jake.chervinsky@kobrekim.com
  tmahlum@robinskaplan.com
  alockner@robinskaplan.com                             Kobre & Kim LLP
  jgleason@robinskaplan.com                             1919 M Street, NW
  jkurtz@robinskaplan.com                               Washington, D.C. 20036
  wbornstein@robinskaplan.com                           T: (202) 664-1984

  Attorneys for Plaintiffs UnitedHealthcare of          Clinton J. Dockery, admitted pro hac vice
  Florida, Inc., and All Savers Insurance Company       clinton.dockery@kobrekim.com

                                                        Kobre & Kim LLP
                                                        800 3rd Avenue
                                                        New York, NY 10022
                                                        T: (212) 488-1275
                                                        Attorneys for Defendants American Renal
                                                        Associates LLC and American Renal
                                                        Management LLC




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                                    CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was electronically filed on
  July 2, 2018 with the Clerk of Court using the CM/ECF system thereby sending a notice of
  electronic filing to all counsel of record on the service list below.


                                         /s/Lawrence Farese
                                         Lawrence A. Farese (Florida Bar No. 252808)


                                            SERVICE LIST

  Matthew I. Menchel (Florida Bar No. 12043)
  matthew.menchel@kobrekim.com
  Andrew C. Lourie (Florida Bar No. 87772)
  andrew.lourie@kobrekim.com
  Adriana Riviere-Badell (Florida Bar No. 30572)
  adriana.riviere-badell@kobrekim.com
  Laura Maria Gonzalez-Marques
  laura.gonzalez@kobrekim.com
  Kobre & Kim LLP
  2 South Biscayne Boulevard
  35th Floor
  Miami, FL 33131

  Danielle S. Rosborough, admitted pro hac vice
  danielle.rosborough@kobrekim.com
  Jacob Chervinsky, admitted pro hac vice
  Jake.chervinsky@kobrekim.com
  Kobre & Kim LLP
  1919 M Street, NW
  Washington, D.C. 20036

  Clinton J. Dockery, admitted pro hac vice
  clinton.dockery@kobrekim.com
  Kobre & Kim LLP
  800 Third Avenue
  New York, NY 10022

  Attorneys for Defendants American Renal Associates LLC
  and American Renal Management LLC




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